
Titus, C. J.
— This action is brought to recover damages for an injury received by the plaintiff while riding as a passenger on a belt-line train of the defendant’s railroad. The plaintiff, with several other laborers, got onto the train at the Terrace station for the Military Road station. When the train arrived at that point, the passengers commenced getting off, and before all had got off the train started, and while on the lower step of the car platform the plaintiff claimed that the car gave a sudden jerk, and threw him to the ground, and he received injuries, for which this action is brought. The facts are not very much in dispute. The defendant claims that the train did not start with a sudden jerk, and that the plaintiff jumped from the train. The case was submitted to the jury on a charge by the court, which, to say the least of it, was not unfair to the defendant. No exception was taken to the charge, or to any ruling of the court in the admission or rejection of evidence. The only ex*870ceptions are to the court’s refusal to nonsuit the plaintiff, and to direct a verdict for the defendant at the close of the case. These exceptions present a single question. Was there sufficient evidence to justify the jury in the conclusion reached by it? An examination of the record satisfies' me that there was an abundance of evidence to warrant the jury in coming to the conclusion which it reached. The court could not have granted the defendant’s motion, as the case presented a question of fact, pure and simple, for the jury to determine, and their findings cannot be disturbed. The judgment and order appealed from should he affirmed, with costs.
Hatch, J., concurs.
